          Case 3:19-cv-02724-SK Document 450 Filed 08/15/23 Page 1 of 1




                              UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA


                                      CIVIL MINUTES

Date: August 15, 2023            Time: 5 hours, 43 minutes      Judge: SALLIE KIM
Case No.: 19-cv-02724-SK         Case Name: Brackens, et al. v. City and County of San Francisco

Attorneys for Plaintiffs: Yolanda Huang, Richard Brody, and Rachel Doughty
Attorneys for Defendant: Sabrina Berdux and Kaitlyn Murphy

Deputy Clerk: Melinda K. Lock                    Court Reporter: Ana Dub/Jennifer Coulthard


                                      PROCEEDINGS

Bench Trial (Day 5) - held.

                                         SUMMARY


See attached log for details.
